Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Pageiof8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

1
THE STANDARD REGISTER COMPANY, ef al., Case No. 15-10541 (BLS)

Debtors. (Jointly Administered)

Re: Docket Nos. 13 & 57

FINAL ORDER ESTABLISHING NOTIFICATION
PROCEDURES FOR DISPOSITIONS OF, OR CLAIMS OF WORTHLESS STOCK
DEDUCTIONS WITH RESPECT TO, STANDARD REGISTER’S STOCK

Upon the Motion? of Standard Register and its affiliated debtors and debtors in
possession in the above-captioned chapter 11 cases (collectively, the “Debtors’’) for the entry of
interim and final orders, pursuant to sections 105(a), 362 and 541 of title 11 of the Bankruptcy
Code, establishing notification procedures that must be satisfied before certain dispositions of, or

claims of worthless stock deductions with respect to, equity securities in Standard Register or of
any beneficial ownership thereof are deemed effective; and the Court having found that it has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(b) and 157, and the Amended
Standing Order of Reference from the United States District Court for the District of Delaware
dated as of February 29, 2012; and the Court having found that venue of these cases and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: The
Standard Register Company (5440); Standard Register Holding Company (3186); Standard Register
Technologies, Inc. (3180); Standard Register International, Inc. (1861); iMedConsent, LLC (6337); Standard
Register of Puerto Rico Inc. (0578); Standard Register Mexico Holding Company (1624); Standard Register
Holding, S. de R.L. de C.V. (4GR4); Standard Register de México, S. de R.L. de C.V. (4FNO); Standard
Register Servicios, S. de R.L. de C.V. (43K5); and Standard Register Technologies Canada ULC (0001). The
headquarters for the above-captioned Debtors is located at 600 Albany Street, Dayton, Ohio 45417.

All capitalized terms used and not defined herein shall have the meanings ascribed to them in the Motion.

01:16952285.1

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 2of8

found that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and the Court having
found that notice of the Motion has been given as set forth in the Motion and that such notice is
adequate and no other or further notice need be given; and the Court having determined that it
may enter a final order consistent with Article II] of the United States Constitution; and upon
consideration of the First Day Declaration; and the Court having entered that certain Interim
Order Establishing Notification procedures for Dispositions of, or claims of Worthless Stock
Deductions With Respect to, Standard Register’s Stock [Docket No. 57]; and a hearing having
been held to consider the relief requested in the Motion; and upon the record of the hearing on
the Motion and all of the proceedings had before the Court; and the Court having found and
determined that the relief sought in the Motion is in the best interests of the Debtors, their
estates, their creditors and all other parties in interest; and that the legal and factual bases set
forth in the Motion establish just cause for the relief granted herein; and after due deliberation
and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED on an final basis as set forth herein.

2. Any purchase, sale, or other disposition of, or declaration of worthless stock
deduction with respect to, Stock in Standard Register or of any Beneficial Ownership (as defined
below) thereof in violation of the procedures set forth herein (including the notice requirements
set forth below) shall be null and void ab initio.

3. The following procedures for monitoring the trading of Stock (collectively, the

“Procedures for Trading in Stock”) are hereby approved:

a. Any entity (as such term is defined in section 101(15) of the Bankruptcy Code,
which includes a person or individual) who currently is or becomes a Substantial
Shareholder (as defined below) must file with the Court, and serve upon proposed
counsel to the Debtors, Gibson, Dunn & Crutcher, LLP, 333 South Grand

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 3o0f8

Avenue, Los Angeles, CA 90071-1512 (Attn: Robert A. Klyman), and Young
Conaway Stargatt & Taylor, LLP, 1000 North King Street, Rodney Square,
Wilmington, DE 19801 (Attn: Michael R. Nestor) and proposed counsel to the
Official Committee of Unsecured Creditors of the Debtors (the “Committee”),
Lowenstein Sandler LLP, 65 Livingston Avenue, Roseland, NJ 07068 (Attn:
Sharon L. Levine) and Polsinelli PC, 222 Delaware Avenue, Suite 1101,
Wilmington, DE 19801 (Attn: Christopher A. Ward), a declaration of such status,
substantially in the form of Exhibit 1 attached hereto, on or before the later of
(i) twenty (20) days after the date of the Notice of Order (as defined below) and
(ii) ten (10) days after becoming a Substantial Shareholder.

b. Before effectuating any disposition of Stock that would result in an increase in the
amount of Stock of which a Substantial Shareholder has Beneficial Ownership or
would result in an entity becoming a Substantial Shareholder, such Substantial
Shareholder must file with the Court, and serve upon proposed counsel to the
Debtors and the Committee, an advance written declaration of the intended
disposition of Stock in the form of Exhibit 2 attached hereto (each, a “Declaration
of Intent to Purchase, Acquire or Otherwise Accumulate Stock”).

c. Before effectuating any disposition of Stock that would result in a decrease in the
amount of Stock of which a Substantial Shareholder has Beneficial Ownership,
other than any such disposition where the amount of Stock of which such
Substantial Shareholder has Beneficial Ownership following such disposition is
not less than the lowest amount of Stock of which such Substantial Shareholder
had Beneficial Ownership during the three (3) year period ending on the date of
such disposition, or would result in a Substantial Shareholder ceasing to be a
Substantial Shareholder, such Substantial Shareholder must file with the Court,
and serve upon proposed counsel to the Debtors and the Committee, an advance
written declaration of the intended disposition of Stock in the form of Exhibit 3
attached hereto (each, a “Declaration of Intent to Sell, Trade, or Otherwise
Dispose of Stock,” and together with a Declaration of Intent: to Purchase, Acquire
or Accumulate Stock, each, a “Declaration of Proposed Disposition”).

d. The Debtors, in consultation with the Committee, shall promptly review all
Declarations of Proposed Disposition and shall have five (5) calendar days after
receipt of a Declaration of Proposed Disposition to file with the Court and serve
on such Substantial Shareholder an objection to any proposed disposition of Stock
described in the Declaration of Proposed Disposition on the basis that such
disposition will cause a Pre-Emergence Ownership Change and thereby adversely
affect the Debtors’ ability to utilize their Tax Attributes as a result of a Pre-
Emergence Ownership Change. If the Debtors file such an objection, such
transaction shall be enjoined and would not be effective unless and until such
objection is withdrawn by the Debtors or such objection is overruled by a final
order of the Court; provided, however, that such injunction shall continue if,
within three days of entry of such order overruling the objection, the Debtors file
a notice of appeal. If the Debtors do not object within such 5-day period, such
transaction can proceed solely as set forth in the Declaration of Proposed

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 4of8

Disposition. Further transactions within the scope of this paragraph must be the
subject of additional Declarations of Proposed Disposition in accordance with the
procedures set forth herein, with an additional 5-day waiting period for each
Declaration of Proposed Disposition. The Debtors shall review each Declaration
of Proposed Disposition and decide whether to object to, or waive any objection
to, any proposed disposition of Stock described therein in the order each such
Declaration of Disposition is filed with the Court.

e. For purposes of these procedures: (i) a “Substantial Shareholder” is any (a) entity
with (or entities who would own as a result of the proposed transfer) Beneficial
Ownership of at least 378,014 shares of Standard Register’s Common Stock (ie.,
approximately 4.5% of the outstanding 8,400,320 shares of Common Stock), or
(b) entity (or entities who would own as a result of the proposed transfer) with
Beneficial Ownership of any shares of Standard Register’s Class A Stock;
(ii) “Beneficial Ownership” of Stock with respect to any holder shall be
determined in accordance with the applicable rules of IRC section 382 and the
Treasury Regulations thereunder, and shall include, but not be limited to, indirect
and constructive ownership, for example, (A) a holding company is considered to
beneficially own Stock owned by its subsidiaries, (B) a partner in a partnership
(or other entity treated as a partnership for U.S. federal income tax purposes) is
considered to beneficially own a proportionate interest in Stock owned by the
partnership, (C) an individual and such individual’s family members may be
treated as one individual, (D) persons or entities acting in concert with a holder to
make a coordinated acquisition may be treated as a single entity), and (E) a holder
is considered to beneficially own any stock that such holder has an Option to
acquire; and (iti) an “Option” to acquire stock includes all interests described in
Treasury Regulations section 1.382-4(d)(9), including any contingent purchase,
warrant, convertible debt, put, Stock subject to risk of forfeiture, contract to
acquire Stock or similar interest, regardless of whether it is contingent or
otherwise not currently exercisable.

4. The following procedures for monitoring worthless stock deductions with respect

to Stock (collectively, the “Procedures for Claiming Worthless Stock Deductions”) are hereby

approved:

(a) Any entity (as such term is defined in section 101(15) of the Bankruptcy Code,
which includes a person or individual) who currently is or becomes a 50%
Shareholder must file with the Court, and serve upon proposed counsel to the
Debtors, Gibson, Dunn & Crutcher, LLP, 333 South Grand Avenue, Los Angeles,
CA 90071-1512 (Attn: Robert A. Klyman), and Young Conaway Stargatt &
Taylor, LLP, 1000 North King Street, Rodney Square, Wilmington, DE 19801
(Attn: Michael R. Nestor) and proposed counsel to the Committee, Lowenstein
Sandler LLP, 65 Livingston Avenue, Roseland, NJ 07068 (Attn: Sharon L.
Levine) and Polsinelli PC, 222 Delaware Avenue, Suite 1101, Wilmington, DE
19801 (Attn: Christopher A. Ward), a notice of such status, in the form of Exhibit

(b)

(c)

(d)

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 5of8

4 attached hereto, on or before the later of (i) twenty (20) days after the date of the
Notice of Order (as defined below) and (ii) ten (10) days after becoming a 50%
Shareholder.

(i) Prior to filing any federal or state tax return, any amendment to such a return,
or distributing K-1 or other information statement, if any, to its partners or
members, claiming or reflecting any deduction for worthlessness of the Stock, for
a tax year ending before the Debtors’ emergence from chapter 11 protection, such
50% Shareholder must file with the Court, and serve upon proposed counsel to the
Debtors and the Committee, an advance written declaration in the form of Exhibit
5 attached hereto (a “Declaration of Intent_to Claim a Worthless Security
Deduction”), of the intended claim of worthlessness.

(11) If a 50% Shareholder is a partnership or other pass-through entity for federal
or state income tax purposes, prior to filing any federal or state tax return, or any
amendment to such a return, each partner or other owner of such 50% Shareholder
must file with the Court, and serve upon proposed counsel to the Debtors and the
Committee, an advance written declaration in the form of Exhibit 5 attached
hereto, the Declaration of Intent to Claim a Worthless Security Deduction, prior to
filing a return claiming or otherwise reflecting any deduction for worthlessness of
the Stock, for a tax year ending before the Debtors’ emergence from chapter 11
protection.

The Debtors will have fifteen (15) calendar days after receipt of a Declaration of
Intent to Claim a Worthless Security Deduction to file with the Court and serve on
such 50% Shareholder (or partner or owner of such 50% Shareholder) an
objection on the grounds that such claim might adversely affect the Debtors’
ability to utilize their Tax Attributes. If the Debtors file an objection to a
Declaration of Intent to Claim a Worthless Security Deduction, the filing of the
return or distribution of K-1 or other information statement with such claim shall
be enjoined and shall not be effective unless and until such objection is withdrawn
by the Debtors or such objection is overruled by a final order of the Court that is
no longer subject to appeal. If the Debtors do not object within such 15-day
period, the filing of the return or distribution of K-1 or other information
statement with such claim shall be permitted as set forth in the Declaration of
Intent to Claim a Worthless Security Deduction. Additional tax returns within the
scope of this paragraph must be the subject of additional notices as set forth
herein, with an additional 15-day waiting period.

For purposes of these procedures: (i) a “50% Shareholder” is any person owning

50% or more of Stock (within the meaning of IRC section 382(g)(4)(D)), and this
calculation shall include, but shall not be limited to, indirect and constructive
ownership under the rules of Treasury Regulations Section 1.382-2T(h) other than
Treasury Regulations Section 1.382-2T(h)(2)(i)(A), for example, (a) a holding
company is considered to beneficially own Stock owned by its subsidiaries, (b) a
partner in a partnership (or other entity treated as a partnership for U.S. federal
income tax purposes) is considered to beneficially own a proportionate interest in

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 6of8

Stock owned by the partnership, (c) an individual and such individual’s family
members may be treated as one individual, and (d) persons or entities acting in
concert with a holder to make a coordinated acquisition may be treated as a single
entity), and (e) a holder is considered to beneficially own Stock with respect to
which such holder has an Option to acquire; and (ii) an “Option” to acquire Stock
includes all interests described in Treasury Regulations section 1.382-4(d)(9),
including any contingent purchase, warrant, convertible debt, put, stock subject
to risk of forfeiture, contract to acquire Stock or similar interest, regardless of
whether it is contingent or otherwise not currently exercisable.

5. The Debtors are authorized, but not directed, to waive in writing, after prior
consultation with the Committee, any and all restrictions, stays and notification procedures
contained in this Order; provided, however, that if the Committee objects to the requested waiver
within three (3) days from the receipt of the request in writing then the waiver shall not be
effective until the objection is resolved by an agreement of the Debtors and the Committee or
further order of this Court.

6. No later than two (2) business days following entry of this Order, the Debtors

shall serve by first class mail, postage prepaid, a notice in substantially the form of Exhibit 6

attached hereto (the “Notice of Final Order”) to the following (collectively, the “Notice Parties”):
(a) directly registered holders of Common Stock on the books and records of the Debtors’
transfer agent; (b) the banks, brokers, intermediaries, other nominees or their agents (each, a
“Nominee”) holding in “street name” on behalf of beneficial holders of Common Stock; (c)
holders of Class A Stock; (d) counsel to the Committee; (e) the transfer agents for any Common
Stock; (f) the United States Securities and Exchange Commission; (g) the Internal Revenue
Service; and (h) all parties that, as of the entry of this Order, have requested notice in these
chapter 11 cases pursuant to Bankruptcy Rule 2002. With respect to the Notice of Final Order,
the Debtors may fill in, or cause to be filled in, any missing dates and other information, correct

any typographical errors, conform the provisions thereof to the provisions of this Order, and

make such other, nonmaterial changes as the Debtors deem necessary or appropriate.

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 7of8

7. Each Nominee shall be required to serve the Notice of Final Order on the
beneficial holders for the benefit of which it holds Common Stock. Additionally, any Nominee
who sells in excess of 378,014 shares of Common Stock to another entity shall be required to
serve a copy of the Notice of Final Order on such purchaser of such Common Stock or any
Nominee or entity acting on such purchaser’s behalf.

8. Each transfer agent of the Common Stock shall be required to provide the
Debtors’ proposed counsel with an excel file containing the names and addresses of all holders
of such Common Stock registered with such transfer agent no later than one (1) business day
after entry of this Order; provided, however, that if the transfer agent does not provide this file
within one (1) business day after entry of this Order, such transfer agents shall be required to
serve the Notice of Order on all holders of such Common Stock that are registered with such
transfer agent no later than five (5) business days after being served with the Notice of Final
Order. In addition, all registered holders shall be required to serve the Notice of Final Order on
any holder for whose account such registered holder holds Common Stock and so on down the
chain of ownership.

9. The Debtors’ service on the Notice Parties of the Notice of Final Order shall
constitute sufficient notice of this Order and the Procedures for Trading in Stock.

10. The requirements set forth in this Order are in addition to the requirements of all
applicable law and do not excuse compliance therewith.

11. The Debtors are authorized to take any and all actions necessary to effectuate the
relief granted herein.

12. Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be effective and enforceable immediately upon its entry.

Case 15-10541-BLS Doc 268-2 Filed 04/13/15 Page 8of8

13.

related to the

Dated: A

This Court shall retain jurisdiction with respect to all matters arising from or

implementation of this Order.

wk (3.2015

|
Wilm!

ington, Delaware

CA

BRENDAN K SHANNO
CHIBF UNITEB-STATES BANKRUPTCY JUDGE

